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                            UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                     Dallas Division



    CHARLENE CARTER,                               Civil Case No. 3:17-cv-02278-X

                         Plaintiff,                PLAINTIFF CHARLENE CARTER’S
                                                   BRIEF IN RESPONSE TO DEFENDANT
    V.                                             SOUTHWEST AIRLINES CO.’S BRIEF
                                                   REGARDING RELIGIOUS LIBERTY
    SOUTHWEST AIRLINES CO., AND                    TRAINING
    TRANSPORT WORKERS UNION OF AMERICA,
    LOCAL 556,

                         Defendants.



     Pursuant to the Court’s May 18, 2023 Order,1 Plaintiff Charlene Carter (“Carter”), by and

through her attorneys, hereby files this Brief in Response to Defendant Southwest Airline Co.’s

(“Southwest”) Brief Regarding Religious Liberty Training.”2 The Court should order religious

liberty training because it is both necessary and permissible to coerce Southwest’s compliance

with its orders to not discriminate or fail to reasonably accommodate,3 and to remedy Southwest’s

Inflight Information On The Go (“IIOTG”) Memo’s discriminatory effects. The Court should also

deny Southwest’s request to stay its contempt orders or sanctions pending appeal because

Southwest has a legal obligation to comply with this Court’s orders while they are in effect even

if they are later reversed.




1
  Doc. 427.
2
  Doc. 429.
3
  Doc. 375, p.2 ¶¶5-7.
                                               1
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I. The Court should order religious liberty training because it is both necessary and
   permissible to coerce Southwest’s compliance with its orders not to discriminate or fail
   to reasonably accommodate, and to remedy the IIOTG Memo’s discriminatory effects.

    Contrary to Southwest’s assertions,4 the Court should order Southwest’s counsel and officials

to attend religious liberty training because it is a necessary and appropriate remedy to coerce

Southwest’s compliance with the Court’s order that Southwest may not discriminate.5 “Upon a

finding of contempt, the district court has broad discretion in assessing sanctions to protect the

sanctity of its decrees and the legal process.”6 “[T]he proper aim of judicial sanctions for civil

contempt is ‘full remedial relief,’ [and] that such sanctions should be ‘adapted to the particular

circumstances of each case[.]’”7 When a defendant violates a court Order, the court can fashion

appropriate relief to coerce compliance.8 The public rights that a court order seeks to protect are

important measures of the remedy.9 The Court’s civil contempt power “is broad and pragmatic,

reaching where it must—consistent with prudent court management and due process—to prevent

insults, oppression, and experimentation with disobedience of the law.”10

    Religious liberty training is an appropriate civil (and non-punitive) sanction that coerces

Southwest to comply with the Court’s injunctions that it not discriminate or fail to accommodate

flight attendants’ religious beliefs,11 and is necessary because Southwest violated those injunctions

with its IIOTG Memo. Religious liberty training is also necessary here to protect flight attendants’

Title VII rights and help stop Southwest’s counsel and officials from discriminating against flight




4
  Doc. 429
5
  Doc. 375, p.2 ¶¶5-7.
6
  Test Masters Educ. Servs., Inc. v. Singh, 428 F.3d 559, 582 (5th Cir. 2005) (citation omitted).
7
  Fla. Steel. Corp. v. NLRB, 648 F.2d 233, 239 (5th Cir. 1981) (internal citations omitted).
8
  See, e.g., United States v. Lynd, 349 F.2d 790, 793 (5th Cir. 1965).
9
  Am. Airlines, Inc. v. Allied Pilots Ass’n, 228 F.3d 574, 585 (5th Cir. 2000) (citations omitted).
10
   In re Bradley, 588 F.3d 254, 265-66.
11
   Doc. 375, p.2, ¶5-6.
                                                 2
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attendants’ religious freedoms. Southwest vehemently denies its IIOTG Memo’s discriminatory

effects and stands by its noncompliance.12 That underscores religious liberty training’s importance

in coercing Southwest’s compliance with the Court’s injunctions not to “discriminat[e] against

Southwest flight attendants for their religious practices and beliefs”13 and not to “fail[] to

reasonably accommodate Southwest flight attendants’ sincerely held religious beliefs, practices,

and observances.”14

     Astonishingly, Southwest asserts that it does not even know which injunctions the Southwest’s

IIOTG Memo violated.15 Carter’s Contempt Motion specifically identified the injunctions at

issue.16 Southwest’s argument proves why Southwest’s counsel should attend religious liberty

training to help coerce future compliance with the Court’s injunctions. Southwest’s defiance

concerning its IIOTG Memo’s discriminatory effects17 and preemptive repudiation of its duty to

accommodate religious beliefs concerning abortion18 also show why religious liberty training is

necessary.

     Contrary to Southwest’s objections,19 the Court’s judgment did not have to specifically order

Southwest to attend religious-liberty training for it to be an appropriate sanction to coerce

compliance. District courts are “entitled to a degree of flexibility in vindicating [their] authority




12
   Doc 429, pp.3-5; Doc. 419, p.2; Doc. 428, p.6 (citing United States v. United Mine Workers of
Am., 330 U.S. 258, 303 (1947)).
13
   Doc. 375, p.2, ¶5.
14
   Id. at p.2, ¶6.
15
   Doc. 429, pp.3-4. Southwest’s repeated characterization that Carter seeks sanctions regarding
the IIOTG Memo to prevent Southwest from communicating its position on the verdict and
judgment is incorrect. Doc. 429, p.3. As Carter has explained, this misstates the purpose of
imposing sanctions for the IIOTG Memo. Doc. 399, p.6.
16
   Doc. 382, pp.6-7, 13.
17
   Doc. 429, pp.3-4.
18
   See infra at 7-9.
19
   Doc. 429, p.3.
                                                 3
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against actions that … violate the reasonably understood terms of the order.”20 “It does not lie in

[contemnors’] mouths to say that they have an immunity from civil contempt because the plan or

scheme which they adopted was not specifically enjoined.”21 The Court clearly ordered Southwest

not to discriminate against flight attendants’ religious beliefs, but that is what Southwest’s IIOTG

Memo did. While Southwest adopted a particular scheme for discrimination and refusal to

accommodate that was not specifically contemplated, that is precisely the conduct that the Court

enjoined. Southwest’s “record of continuing and persistent violations” shows that the Court’s

injunctions not to discriminate and to accommodate are “wholly warranted.”22

     Contrary to Southwest’s assertions, Southwest “contemptuously violate[d] the [Court’s]

judgment”23 by telling flight attendants in its Recent Court Decision notice that it “does not

discriminate” and by discriminating against Carter and other flight attendants in its IIOTG

Memo.24 Southwest’s assertion glosses over the fact that its violations are contempt even if they

are not intentional and willful.25 Moreover, Southwest did intentionally and willfully violate the

Court’s Orders because, as Carter showed, Southwest purposefully crafted its “does not




20
   Hornbeck Offshore Servs., L.L.C. v. Salazar, 713 F.3d 787, 792 (5th Cir. 2013); Charitable DAF
Fund LP v. Highland Cap. Mgmt. LP, No. 3:21-CV-01974-X, 2022 WL 4538466, at *3 (N.D. Tex.
Sept. 28, 2022).
21
   See McComb v. Jacksonville Paper Co., 336 U.S. 187, 192 (1949) (emphasis added); Bisous
Bisous, L.L.C. v. The CLE Group, L.L.C., Civil Action No. 3:21-CV-1614-B, 2021 WL 4219707,
*2 (N.D. Tex. Sept. 16, 2021) (“A party is under an obligation to comply with a court order in all
‘meaningful respects’ to achieve substantial and diligent compliance.”) (citations omitted).
22
   See McComb, 336 U.S. at 192.
23
   Doc. 429, p.5.
24
   Doc. 382, pp.6-13; Doc. 399, pp.2-9.
25
   See McComb, 336 U.S. at 191; Am. Airlines, Inc., 53 F. Supp. 2d at 939 (“Willfulness is not an
element of civil contempt.”). See also Doc. 382, p.6 (stating that respondent acts in contempt if it
failed to comply with the Court’s order); id. at p.6 n.4.
                                                 4
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discriminate” language because it did not want to follow what the Court ordered,26 and Southwest

drafted the IIOTG Memo to silence flight attendants’ religious expression.27

     Contrary to Southwest’s characterizations,28 re-issuing the Recent Court Decision notice will

not remedy its IIOTG Memo violations of the Court’s injunctions against religious discrimination

and failure to accommodate.29 Southwest’s purported offer “to make things right”30 does not

address the IIOTG Memo’s violations. And Southwest flatly rejects that it has done anything

wrong in its IIOTG Memo.31 Thus, religious liberty training is necessary to coerce compliance

with the Court’s discrimination and accommodation orders. While Southwest also complains that

religious liberty training is a non-compensatory civil sanction,32 that is immaterial. As Southwest

acknowledges, the Court can also fashion civil sanction remedies to coerce compliance.33




26
   Doc. 429, pp.5-6; Doc. 411, pp.16-17, 19-22.
27
   Doc. 382, pp.9-13; Doc. 399, pp.5-9.
28
   Doc. 429, p.3.
29
   Southwest incorrectly asserts that once Southwest complies with the Court’s order (by which it
presumably means reissuing its Recent Court Decision notice) “any contempt should be lifted”
and there will be no contempt for religious liberty training to remedy. Doc. 429, p.3. Even if
Southwest reissues a corrected Recent Court Decision notice that will not purge the effects of
misinforming and misleading flight attendants when it said that the Court ordered it to tell them
that Southwest does not discriminate. Southwest offers to do what the Court ordered in the first
place, but it does not remedy Southwest’s misrepresentation to flight attendants that “the Court
ordered us to inform [flight attendants] that Southwest does not discriminate.” Not only is it
necessary for Southwest to do what it should have done in the first place, purging effects of its
misrepresentations also requires Southwest to tell flight attendants that it misinformed them when
it said it does not discriminate. Thus, Carter’s corrective notices are necessary to purge the effects
of those misrepresentations. Doc. 382, pp.14-17. Furthermore, Southwest still maintains that its
Recent Court Decision notice “substantially complied with the judgment.” Doc. 429, p.3. But
Carter showed that it did not and did the opposite of what the Court ordered. Doc. 399, pp.4-5.
30
   Doc. 429, p.5.
31
   Id. at pp.3-5.
32
   Id. at p.3.
33
    Id. The Court’s order expressly states that it is considering the remedy to coerce compliance,
and Southwest acknowledges that civil sanctions coercing compliance are permissible. Doc. 423,
pp.2-3; Doc. 429, p.2 (citing Am. Airlines, Inc., 228 F.3d at 585) (other citations omitted). Contrary
to Southwest’s suggestions, requiring its counsel and managers to attend religious liberty training
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   Contrary to Southwest’s representations, Fifth Circuit precedent does not require courts to

award “the least severe sanctions.”34 Southwest misstates Fifth Circuit precedent, which considers

in its review of district court sanctions awards, among other factors, the district court’s findings as

to whether “sanctions are the least severe sanctions adequate to accomplish the purpose for which

the sanction was imposed.”35 Southwest’s religious discrimination and disobedience towards this

Court’s Orders here is persistent and unapologetic. When assessing the appropriate remedy, the

Court must consider “the character and magnitude of the harm threatened by continued contumacy,

and the probable effectiveness of any suggested sanction in bringing about the result desired.”36

As the Court considers what sanctions are necessary to purge the IIOTG Memo’s discriminatory

effects and coerce Southwest’s compliance with the Court’s injunctions against discrimination and

failure to accommodate, it can and should also consider Southwest’s repeated violations of this

Court’s orders, its “tripling down” on discrimination against Carter and other flight attendants,37

and its steadfast refusal to stand down from its conduct.




does not “punish” Southwest (Doc. 429, p.6); it coerces compliance with the Court’s non-
discrimination and accommodation orders.
34
   Doc. 429, p.3.
35
   Topalian v. Ehrman, 3 F.3d 931, 938 (5th Cir. 1993) (emphasis added). The Fifth Circuit also
considered (1) what conduct is being punished or is sought to be deterred by the sanction, (2) what
expenses or costs were caused by the violation of the rule, and (3) were the costs or expenses
“reasonable” as opposed to self-imposed, mitigatable, or the result of delay in seeking court
intervention. Notably, the Fifth Circuit has also recognized that “the district court should carefully
choose sanctions that foster the appropriate purpose of the rule, depending on the parties, the
violation, and the nature of the case.” Id. at 936-37.
36
   United Mine Workers, 330 U.S. at 304; Lamar Fin. Corp. v. Adams, 918 F.2d 564, 567 (5th Cir.
1990).
37
   Doc. 382, pp.10-11; Doc. 428, pp.3-4.
                                                  6
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II. Southwest’s IIOTG Memo violated the Court’s order not to discriminate.

     Religious liberty training is an appropriate sanction because Southwest’s IIOTG Memo

violated the Court’s non-discrimination and accommodation injunctions38 by denigrating Carter’s

religious beliefs and practices concerning abortion and conveying that flight attendants’ religious

expression on social media concerning abortion would receive disparate, unfavorable treatment

(i.e., punishment up to and including termination) under the social media policies.

     Contrary to Southwest’s characterizations,39 treating flight attendants less favorably under the

company’s social media policies because of their religious beliefs and practices is unlawful

religious discrimination, regardless of whether the employee suffered an adverse employment

action (e.g., termination or demotion). Title VII makes it unlawful for an employer “to fail or refuse

to hire or to discharge any individual, or otherwise to discriminate against any individual with

respect to his compensation, terms, conditions, or privileges of employment, because of such

individual’s … religion.”40 Religious discrimination means “treat[ing] a particular person less

favorably than others because of [religion].”41 While courts are divided, and the Fifth Circuit is

currently considering en banc, the question of whether an employee must show an ultimate

employment action to prevail in a Title VII claim,42 that question does not decide the issue here.

The Court ordered Southwest not to discriminate against flight attendants for, and to reasonably




38
   Doc. 375, p.2 ¶¶5-7.
39
   Doc 429, p.4. Southwest suggests that the IIOTG Memo did not violate the Court’s Order not to
discriminate because it was not “an adverse employment action” affecting Carter’s “job duties,
compensation, or benefits.” Doc. 429, p.4 (citations omitted).
40
   Ricci v. DeStefano, 557 U.S. 557, 577 (2009) (cleaned up) (emphasis added).
41
   42 U.S.C. § 2000e-2(a)(1) (emphasis added).
42
   See Hamilton v. Dallas Cnty., 42 F.4th 550, 555 (5th Cir. 2022), reh’g en banc granted, opinion
vacated, 50 F.4th 1216 (5th Cir. 2022). Oral arguments in the en banc rehearing took place on
January 24, 2023.
                                                  7
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accommodate, their religious practices and beliefs.43 When Southwest conveyed that protected

religious beliefs and practices crossed the boundaries of acceptable behavior and violated its social

media policies, it announced an intention to continue the same religious discrimination that the

jury found unlawful and the Court enjoined. Even where a court would not have authority to award

damages under a discrimination statute, it still has the power to sanction contempt in violation of

its orders.44

     Southwest’s IIOTG Memo invokes its social media rules, which impose terms, conditions, and

restrictions on flight attendants’ privileges of employment, declaring that flight attendants “must

all adhere to” the policies. Carter showed that the IIOTG Memo discriminated against Carter’s and

other flight attendants’ religious practices and beliefs, including those expressed on social media

and concerning abortion, less favorably with respect to its social media policy enforcement.45

Carter also showed how the IIOTG Memo exhibits discriminatory animus towards those flight

attendants who would exercise their religious beliefs as Carter did and thereby chilled and

restrained their Title VII-protected religious beliefs and expression.46 Southwest conveyed that it

will enforce its social media policies to discipline or fire any flight attendants who exercise their

Title VII rights in the same manner as Carter.47 Carter further showed that the IIOTG Memo

signaled Southwest’s preemptive refusal to accommodate flight attendants’ sincerely held

religious beliefs and practices expressed on social media.48 Southwest also admits it issued its

IIOTG Memo to silence employees’ religious expression and other speech.49



43
   Doc. 375, p.2, ¶¶ 5-6.
44
   Am. Airlines Inc., 228 F.3d at 585-86. See also supra at 3-4.
45
   Doc. 382, pp.9-10; Doc. 383-3, p.2.
46
   Doc. 382, p.10; Doc. 383-3, p.2.
47
   Doc. 382, p.10; Doc. 383-3, p.2.
48
   Id.
49
   Doc. 412-4, p.35 (App.46) (SWA Show Cause 34); Doc. 411, p.16.
                                                 8
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     Southwest “objects strongly” that it never denigrated Carter’s religious beliefs and practices,50

but the fact is that it called Carter’s religious beliefs concerning abortion “inappropriate, harassing,

offensive, repulsive and beyond the bounds of civility” in a company-wide communication to all

17,000 flight attendants.51 While Southwest argues that the IIOTG Memo did not say Carter’s

name or specifically mention her religious beliefs,52 Southwest issued the Court opinion and order

to every flight attendant at the same time as the Memo, so they were well aware that Southwest

was targeting Carter and flight attendants’ religious beliefs on social media concerning abortion.53

     While Southwest seeks refuge in legal boilerplate, that, unlike the IIOTG Memo, does not

address how Southwest will enforce those broad policies. Southwest’s IIOTG Memo targeted

religious expression like Carter’s for disparate treatment under its social media policies, and

thereby violated the Court’s orders against religious discrimination.

III. Southwest must comply with the Court’s Orders even if it wishes to appeal.

     Contrary to Southwest’s suggestions,54 Southwest’s violations of this Court’s orders are

contempt even if the Court of Appeals later reverses those orders. “An order issued by the Court

with jurisdiction over the subject matter and person must be obeyed until it is reversed.”55

Southwest violated this Court’s Orders while they were effective.56 Whether the Court of Appeals

might reverse those orders is immaterial—Southwest cannot violate the Court’s Orders while they

are in effect. Therefore, the Court should not stay its sanctions order pending appellate review




50
   Doc. 429, p.4 n.1 (Southwest asserting that it never ridiculed Carter’s views).
51
   Doc. 399, p.7; Doc. 383-3, p.2.
52
   Doc. 429, p.4.
53
   Doc. 399, pp.7-8.
54
   Id.
55
   United States Steel Corp. v. United Mine Workers of Am., Dist. 20, 598 F.2d 363, 368 (5th Cir.
1979) (citing United Mine Workers, 330 U.S. at 293); Am. Airlines Inc., 228 F.3d at 578.
56
   Doc. 382, pp.6-7.
                                                   9
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because Southwest must comply with the Court’s Orders regardless of any appeal’s ultimate

disposition.57

Dated: May 22, 2023                        Respectfully submitted,


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57
  Notably, Southwest did not seek a stay of any of this Court’s injunctive orders. Whether
Southwest ultimately prevails on its appeal or not, Southwest cannot violate the Court’s orders
while they are in effect.
                                              10
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                                    Certificate of Service

   I hereby certify that on May 22, 2023, I electronically filed the foregoing document with the

Clerk of Court by using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record.



                                           /s/ Matthew B. Gilliam
